                                  Case 3:21-cv-00041-CAB-MSB Document 20 Filed 01/08/21 PageID.227 Page 1 of 1




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                                   7                                      UNITED STATES DISTRICT COURT
                                   8                                   NORTHERN DISTRICT OF CALIFORNIA
                                   9     MICHAEL AARON ARZAGA,
                                                                                            Case No. 20-08230 EJD (PR)
                                  10                         Plaintiff,
                                                                                            ORDER OF TRANSER
                                  11                v.
                                  12     DAVID M. GILL, et al.,
Northern District of California
 United States District Court




                                  13                        Defendants.
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                                  16            Plaintiff, a state prisoner, filed a pro se civil rights complaint against “judicial
                                  17   officers” in the San Diego Superior Court. Dkt. No. 18. Because the acts complained of
                                  18   occurred in San Diego County, which lies within the venue of the Southern District of
                                  19   California, see 28 U.S.C. § 84(d), and defendants likely reside in that district, venue
                                  20   properly lies in that district and not in this one. See 28 U.S.C. § 1391(b). Accordingly,
                                  21   this case is TRANSFERRED to the United States District Court for the Southern District
                                  22   of California. See 28 U.S.C. § 1406(a).
                                  23            The Clerk shall terminate all pending motions and transfer the entire file to the
                                  24   Southern District of California.
                                  25            IT IS SO ORDERED.
                                  26   Dated: _____________________
                                               1/8/2021                                     ________________________
                                  27
                                                                                            EDWARD J. DAVILA
                                                                                            United States District Judge
                                       Order of Transfer
                                  28   PRO-SE\EJD\CR.20\08230.Arzaga_transfer (SD)
